     Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 1 of 14
                                                 Joint Pre-Trial Order Attachment E-2

              IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

  DHI Group, Inc. f/k/a Dice Holdings
  Inc. and RIGZONE.com, Inc.,
                     Plaintiffs,

        vs.

 David W. Kent, Jr., Single Integrated
 Operations Portal, Inc. d/b/a Oilpro, et.
 al.,
                Defendants.
                                                         No: 16-cv-01670
 Single Integrated Operations Portal,
 Inc. d/b/a Oilpro and OILPRO.com,
                     Counter-Plaintiff,

        vs.

 DHI Group, Inc. f/k/a Dice Holdings
 Inc. and RIGZONE.com, Inc.,
                   Counter-Defendants.


                      DEFENDANTS’ MOTION IN LIMINE
      Defendants David W. Kent, Jr. and Single Integrated Operations Portal, Inc.

d/b/a Oilpro and Oilpro.com (“Defendants”) file this Motion in Limine before any

proceedings in the presence of the Jury and prior to the voir dire examination of the

Jury, and respectfully request the Court to order:

         • DHI Group, Inc. f/k/a Dice Holdings Inc. and RIGZONE.com, Inc.
           (collectively, “Plaintiffs”), as well as Plaintiffs’ attorneys, and all


                                             1
     Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 2 of 14
                                               Joint Pre-Trial Order Attachment E-2

             other persons involved in this case on their behalf, be instructed not
             to mention or bring before the Jury, either directly or indirectly,
             upon voir dire, opening statements, interrogation of witnesses,
             argument, objections before the Jury, or any other means or manner
             inform the Jury or bring to the Jury’s attention any of the matters
             set forth in the paragraphs below, unless and until such matters have
             been first called to the Court’s attention, out of the presence and/or
             hearing of the Jury, and a favorable ruling has been received as to
             the relevance and admissibility of such matters.

         • Counsel for Plaintiffs be instructed to inform all witnesses called by
           Plaintiffs not to volunteer, disclose, state or mention to the Jury any
           of the below-enumerated matters, unless specifically questioned
           thereon after a prior ruling by this Court.

         • That the violation of any of these instructions would constitute
           harm and deprive Defendants of a fair and impartial trial, and
           instruct counsel for Plaintiffs that the failure to abide by such order
           may constitute contempt and necessitate a mistrial.

The specific actions and matters that Defendants request this Court include within its

order in limine are as follows:

         1. That the parties, witnesses, and counsel for any party be precluded from
            discussing, referencing, or making argument concerning the Pre-
            Sentencing Memorandum. The Pre-Sentencing Memorandum contains
            out-of-court statements offered for the truth of the matter asserted, and is
            therefore inadmissible hearsay under Fed. R. Evid. 802. The Pre-
            Sentencing Memorandum is only being offered to inflame the jury based
            on David Kent's prior criminal conviction and is, therefore, more
            prejudicial than probative under Fed. R. Evid. 403. Alternatively, should
            any party or counsel read any portion of the Pre-Sentencing
            Memorandum, then, under the doctrine of optional completeness, counsel
            must also read the following quote from the Pre-Sentencing
            Memorandum: “the government agrees ‘that there is no proof or
            indication that all 111,000 new Oilpro members joined based on
            Kent's activities.’”



                                           2
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 3 of 14
                                         Joint Pre-Trial Order Attachment E-2

      SUSTAINED         ________        OVERRULED_______

   2. That the parties, witnesses, and counsel for any party be precluded from
      discussing, referencing, or making argument concerning the Declaration
      of Evelina Aslanyan or any assertions therein. Aslanyan’s Declaration
      contains out of court statements offered for the truth of the matter
      asserted, and is therefore inadmissible hearsay under Fed. R. Evid. 802.
      Aslanyan’s Declaration is only being offered to inflame the jury based on
      David Kent’s prior criminal conviction and is, therefore, more prejudicial
      than probative under Fed. R. Evid. 403. Further, the calculations
      proffered by Aslanyan in her Declaration are impermissible lay witness
      opinions that have not been properly vetted through expert disclosures
      and Daubert challenges and, therefore, should be excluded under Fed. R.
      Evid. 701.

      SUSTAINED         ________        OVERRULED_______

   3. The parties, witnesses, and counsel for any party be precluded from
      discussing, referencing, or making any argument regarding Shane
      Johnson’s Damage Calculations. Before Mr. Johnson's calculations can
      come into evidence or be referenced, Mr. Johnson must first lay the
      appropriate foundation and prove up all the underlying facts supporting
      his calculations. Mr. Johnson should not be permitted to testify as to his
      conclusion unless they can prove-up the underlying facts as required by
      Fed. R. Evid. 901(a).

      SUSTAINED         ________        OVERRULED_______

   4. The parties, witnesses, and counsel for any party be precluded from
      discussing, referencing, or making any argument regarding the fair
      market value of the resumes. The parties all agree that there was no
      destruction or dissemination of any trade secret, and, therefore, the fair
      market value of the trade secrets are not an appropriate measure of
      damages. Nor is the lost-asset theory applicable when Plaintiffs have not
      asserted or calculated any loss of income from the resume database, or any
      decrease in value of the resume database or Rigzone resulting from the
      events in question. Thus, such testimony or evidence is misleading or
      likely to confuse the jury and therefore inadmissible under Fed. R. Evid.
      403.

      SUSTAINED         ________        OVERRULED_______


                                    3
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 4 of 14
                                         Joint Pre-Trial Order Attachment E-2


   5. The parties, witnesses, and counsel for any party be precluded from
      discussing, referencing, or making any argument regarding any out-of-
      pocket expenses. All such evidence relates to criminal prosecution and not
      recoverable. Moreover, none of the expenses spent on the criminal
      investigation were segregated, and no supporting documents or testimony
      exist supporting the employee time estimates (and, if they did, all of the
      employee salary would have been pad anyway and is not recoverable). Any
      evidence regarding out-of-pocket expenses would be misleading and
      confuse the issues for the jury. Therefore, such testimony or evidence is
      inadmissible under Fed. R. Evid. 403

      SUSTAINED          ________       OVERRULED_______

   6. The parties, witnesses, and counsel for any party be precluded from
      discussing, referencing, or making any argument regarding a reasonable
      royalty for the use of the resumes. No expert opined or disclosed a
      reasonable royalty calculation, and, therefore, Plaintiffs have failed to
      timely disclose a reasonable royalty calculation as required by the Court's
      Scheduling Order and the Federal Rules of Civil Procedure. The same is
      true regarding any purported decrease in the value of Rigzone or its
      resume database, as well as the amount of costs saved by Defendants. Any
      such proffering will unfairly prejudice Defendants as they have not had
      adequate opportunity to challenge or rebut such a damage model.
      Therefore the Plaintiffs should be barred from proffering a reasonable
      royalty damage model.

      SUSTAINED          ________       OVERRULED_______

   7. The parties, witnesses, and counsel for any party be precluded from
      discussing, referencing, or making any argument that the Rigzone
      Purchase Agreement contains the definition of “trade secret” or that
      David Kent breached any representations or warranties. The Court found
      that TUTSA definition governs, not the agreement. As such this
      definition is misleading and will likely confuse the jury, therefore
      inadmissible under Fed. R. Evid. 403. The definition of trade secret in the
      Rigzone Purchase Agreement is also an improper legal conclusion and
      therefore inadmissible under Fed. R. Evid. 701.

      SUSTAINED          ________       OVERRULED_______



                                    4
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 5 of 14
                                            Joint Pre-Trial Order Attachment E-2

      8. Referencing or making disparaging remarks including use of the terms
         “Hacker[s].” David Kent did not hack any of Plaintiffs computer systems,
         therefore the term is confusing and misleading and inadmissible under
         Fed. R. Evid. 403. The only reason Plaintiffs wish to use this term is to
         inflame the passions of the jury, which makes this term more prejudicial
         than probative under Fed. R. Evid. 402.

         SUSTAINED          ________       OVERRULED_______

      9. The parties, witnesses, and counsel for any party be precluded from
         discussing, referencing, or making any argument concerning Jeremy
         Antonini’s initial calculation of converted Oilpro members. As confirmed
         by Mr. Antonini, these calculations were made without the information
         necessary to do so and, as a result, included more than just the converted
         members. Such testimony would be inaccurate and therefore irrelevant
         under Fed. R. Evid. 401. Moreover, the calculations proffered by Mr.
         Antonini are impermissible lay witness opinions that have not been
         properly vetted through expert disclosures and Daubert challenges and,
         therefore, should be excluded under Fed. R. Evid. 701.

         SUSTAINED          ________       OVERRULED_______

10.      Referencing or making disparaging remarks including use of the terms
         “Trojan Horse” or stating that David Kent ever employed a “Trojan
         Horse” project or any suggestion that Oilpro or David Kent ever did what
         was discussed but never done. The term is confusing and misleading
         because Oilpro and David Kent never did what an email calls Project
         Trojan Horse, and a non-existent act does not relate to any claims in this
         case. Thus, use of this term is irrelevant and inadmissible under Fed. R.
         Evid. 401 and 403. The only reason Plaintiffs wish to use this term is to
         inflame the passions of the jury, which makes this term more prejudicial
         than probative under Fed. R. Evid. 402.

         SUSTAINED          ________       OVERRULED_______

      11. The parties, witnesses, and counsel for any party be precluded from
          discussing, referencing, or making any argument concerning any claim
          that David Kent, Matthew Kent, or any other former Rigzone empoloyee
          breached their non-compete. Plaintiffs never asserted any such claims.
          Any such testimony is irrelevant, will likely mislead or confuse the jury,



                                       5
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 6 of 14
                                          Joint Pre-Trial Order Attachment E-2

      and is intended to only inflame the passions of the jury. Fed. R. Evid. 401-
      403.

      SUSTAINED          ________        OVERRULED_______

   12. The parties, witnesses, and counsel for any party be precluded from
       discussing, referencing, or making any argument concerning “back door.”
       David Kent accessed the Plaintiffs website using a publicly reachable web
       address, and the Plaintiffs’ own consultant confirmed that David Kent was
       not one of the five authors of the relevant software code. Therefore it is
       inaccurate and misleading to claim that David Kent used a “back door” to
       access Plaintiffs website. Fed. R. Evid. 401-403

      SUSTAINED          ________        OVERRULED_______

   13. The parties, witnesses, and counsel for any party be precluded from
       discussing, referencing, or making any argument concerning evidence
       acquired through the Wayback Machine. Such evidence purports to show
       the status of a website on a given prior date, but such evidence was not
       timely produced or properly authenticated. Therefore, the Wayback
       Machine evidence is inadmissible because no witness can lay a proper
       foundation or authenticate such evidence. Fed. R. Evid. 901(a)

      SUSTAINED          ________        OVERRULED_______

   14. The parties, witnesses, and counsel for any party be precluded from
       discussing, referencing, or making any argument concerning Google
       Analytics or Search Techniques. Plaintiffs abandoned claims concerning
       Google Analytics and Search Techniques and the Court dismissed the
       same. Accordingly any evidence or testimony concerning Google
       Analytics and Search Techniques is irrelevant, misleading, and likely to
       confuse the jury under Fed. R. Evid. 401-403.

      SUSTAINED          ________        OVERRULED_______

   15. Asking any lay or expert witness to opine regarding legal issues and
       terms involved in the case, including but not limited to a witness’ opinion
       or understanding of trade secret. These types of inquiries call for legal
       conclusions that are not helpful for the jury. Fed. R. Evid. 701; Owen v.
       Kear McGee Corp., 698 F.2d 236, 240 (5th Cir. 1983) (Expert testimony
       may embrace ultimate issue to be decided by jury, but expert witness is


                                     6
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 7 of 14
                                          Joint Pre-Trial Order Attachment E-2

      not entitled to tell the jury what result to reach or to give legal
      conclusions).

      SUSTAINED           ________       OVERRULED_______

   16. Mentioning or asking any questions, directly or indirectly, about
       discovery matters or disputes.

      SUSTAINED           ________       OVERRULED_______

   17. Any reference to prior punitive damage awards is irrelevant to this case
       unless offered by Defendants to limit or reduce any punitive damages in
       this case. See State Farm Mutual Auto. Insur. Co. v. Campbell, 538 U.S. 408
       (2003). Further, any probative value of prior punitive damage awards is
       substantially outweighed by their tendency to cause unfair prejudice, to
       confuse the issues, and to mislead the Jury, therefore the evidence of
       awards should be excluded. Also, prior judgments are inadmissible
       hearsay and inadmissible opinion evidence.

      SUSTAINED           ________       OVERRULED_______

   18. Mentioning or asking any questions of any witness which were the
       subject of an objection by counsel for the Defendants on the basis of
       attorney-client or attorney-work product privilege unless the subject
       matter of the objection has been resolved by the Court for the reason that
       the matters addressed below are not subject to disclosure and are
       protected by the attorney client and attorney privilege and work product
       protection. Fed. R. Evid. 501; U.S. v. Zolin, 491 U.S. 554, 562 (1989) (“We
       have recognized the attorney-client under federal law, as the oldest of the
       privileges for confidential communications known to the common law.”).
       The purpose of this motion is to require that the scope of the examination
       be based on relevant non-privileged matters to avoid the introduction of
       irrelevant material. Fed. R. Evid. 402.

      SUSTAINED           ________       OVERRULED_______

   19. Any effort to elicit facts or data from a witness relating on any issue until
       proper foundation to establish that witness can testify on the basis of
       personal knowledge rather than hearsay. Fed. R. Evid. 602 and 801.

      SUSTAINED           ________       OVERRULED_______


                                     7
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 8 of 14
                                          Joint Pre-Trial Order Attachment E-2


   20. Mentioning or referencing the number of attorneys or legal assistants in
       Defendants’ attorneys’ law firm, the number of attorneys or legal
       assistants working on this case, or the location of Defendants’ attorneys’
       law firms. This information is not relevant or material, and thus is
       prejudicial in its effect.

      SUSTAINED          ________        OVERRULED_______

   21. Mentioning or commenting to the Jury about any other case in which
       counsel for Defendants or counsel for Plaintiffs may have been involved.
       This information is irrelevant and immaterial. Fed. R. Evid. 401-403.

      SUSTAINED          ________        OVERRULED_______

   22. Mentioning, referencing, or inferring anything which might tend to
       inform the Jury of the effect of their answers to the questions posed in the
       charge, including any comments to the effect that if questions are not
       answered in a certain way that Plaintiffs receive no recovery.

      SUSTAINED          ________        OVERRULED_______


   23. Mentioning or making reference to the failure to call any witness that is
       equally available to all parties or any witness that is not available to or
       under the control of Defendants or tendering, referring to, reading from,
       offering or exhibiting any statements or reports from any such witness
       who is not then and there present in Court to testify and subject to cross-
       examination by Defendants’ counsel.

      SUSTAINED          ________        OVERRULED_______

   24. Mentioning or stating to the Jury the probable testimony of a witness
       who is absent or unavailable to Defendants, as such would be hearsay, not
       relevant, and prejudicial in its effect. Also, mentioning any failure on the
       part of Defendants to call any expert witness employed to express an
       opinion.

      SUSTAINED          ________        OVERRULED_______




                                     8
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 9 of 14
                                          Joint Pre-Trial Order Attachment E-2

   25. Mentioning or calling any witness, expert, or fact, whose identity, address
       and/or substance of testimony has not been properly and timely disclosed
       in response to discovery requests or that has not been disclosed in
       accordance with the Federal Rules of Civil Procedure and any applicable
       Orders governing this litigation.

      SUSTAINED           ________       OVERRULED_______


   26. Referencing or making disparaging remarks including use of the terms
       “criminals,” “greedy,” “liars,” “frauds,” “cheats,” “fakers,” “imposters,” or
       any inference that Defendants manufactured or generated evidence, for
       the reason that said terms and allegations have been held to be improper
       and prejudicial appeals to the passions and sympathies of the Jury.

      SUSTAINED           ________       OVERRULED_______

   27. Mentioning or asking any questions regarding any settlement demands,
       offers, or negotiations between Plaintiffs and Defendants in an effort to
       resolve this dispute. Fed. R. Evid. 403, 408.

      SUSTAINED           ________       OVERRULED_______



   28. Making any statement which could be considered a plea to gender, race,
       ethnicity, or age unity because the same is irreparably prejudicial and
       incurable by instruction.

      SUSTAINED           ________       OVERRULED_______

   29. Mentioning or referencing any media coverage of lawsuit or issues
       regarding lawsuit for the reason that such evidence is wholly speculative,
       “substantially outweighed” by the danger of unfair prejudice, confuses the
       issues, misleads the Jury, causes delay, and because such information is
       not relevant to any issue in this case. Fed. R. Evid. 401, 402, 403.

      SUSTAINED           ________       OVERRULED_______




                                     9
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 10 of 14
                                           Joint Pre-Trial Order Attachment E-2

    30. Mentioning, referencing, or introducing evidence of any prior action
        and/or omission on the part of Defendants that is not directly related to
        the incident and allegations at issue. Fed. R. Evid. 407.

       SUSTAINED           ________     OVERRULED_______

    31. Mentioning, referencing, or introducing evidence of any subsequent
        remedial measures or actions for the reason that the same is not
        admissible on the issues of negligence or culpable conduct in connection
        with the event. Fed. R. Evid. 407.

       SUSTAINED           ________     OVERRULED_______


    32. Plaintiffs’ counsel cannot seek to elicit any opinions from Plaintiffs’
        experts that have not previously been disclosed in such expert reports.

       SUSTAINED           ________     OVERRULED_______

    33. Any opinion evidence offered by Plaintiffs’ expert regarding punitive
        damages should be excluded because it will not assist the Jury.
        Furthermore, testimony about the impact on Defendants of punitive
        damage awards should be excluded because Plaintiffs’ witness lacks the
        required expertise and the testimony would be speculative. Such evidence
        would also be unfairly prejudicial. Fed. R. Evid. 702 and 403.

       SUSTAINED           ________     OVERRULED_______

    34. Any inquiry of the Jury panel as to whether they could award damages in
        any specific amount or in any specific range because it would be improper
        to exclude any juror based upon some supposed reluctance to award a sum
        of money unilaterally established by Plaintiffs’ counsel, particularly in the
        absence of having heard any testimony.

       SUSTAINED           ________     OVERRULED_______

    35. That no statements or appeal be made to the Jury invoking it to be the
        conscience of the community in this case with respect to this verdict or
        that the Jury should do something by its verdict to make the community
        proud. Such statements suggest to the Jury that it should rule on matters
        not relevant to the case at bar and that some award of damages is


                                      10
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 11 of 14
                                             Joint Pre-Trial Order Attachment E-2

       expected. Westboro v. Gen. Tire & Rubber Co., 754 F.2d 1233 (5th Cir.
       1985).

       SUSTAINED            ________      OVERRULED_______

    36. Mentioning, referencing, or introducing any evidence of alleged legal duty
        issues for the reason that the existence and scope of any legal duty is a
        legal issue for the Court, would serve to confuse the Jury, and would be
        unfairly prejudicial. Fed. R. Evid. 403.

       SUSTAINED            ________      OVERRULED_______

    37. Mentioning, referencing, or introducing any evidence, documents, or
        exhibits that Plaintiffs’ counsel failed to timely produce to Defendants
        and/or failed to list on Plaintiffs’ list of exhibits filed prior to the first day
        of trial. Any reference to documents not previously produced would
        seriously hinder Defendants’ ability to defend against Plaintiffs’ claims.
        Such improper references could not be cured by objections of counsel or
        instructions by the Court.

       SUSTAINED            ________      OVERRULED_______

    38. Mentioning, referencing or showing to the Jury any exhibit or document
        that has not been previously tendered to the court and a ruling obtained
        as to its admissibility. The Court should prohibit reference to any such
        evidence, even if relevant, unless the Court has found that its probative
        value is not substantially outweighed by its prejudicial effect. Fed. R.
        Evid. 403; Lohrmann v. Pittsburgh Coming Corp., 782 F.2d 1156, 1160 (4th
        Cir. 1986); Daskarolis v. Firestone Tire & Rubber Co., 651 F.2d 937, 940
        (4th Cir. 1981); Jackson v. Johns-Manville Sales Corp., 727 F.2d 506, 531
        (5th Cir. 1984), cert. denied, 478 U.S. 1022 (1986).

       SUSTAINED            ________      OVERRULED_______

    39. Any attempt during voir dire or opening statement to detail the evidence
        which Plaintiffs intend to offer, or to read or describe in detail the
        documents Plaintiffs propose to offer, or anything else that seeks to place
        matters before the Jury without the Court having an opportunity to
        examine the admissibility of the same.

       SUSTAINED            ________      OVERRULED_______


                                        11
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 12 of 14
                                           Joint Pre-Trial Order Attachment E-2



    40. Mentioning any action by the Court in ruling upon any matter prior to
        the actual trial of this case or that the pleadings or other matters filed by
        Defendants were in a particular form, had a particular title, or were of a
        particular nature.

       SUSTAINED           ________     OVERRULED_______

    41. Mentioning that this or any other motion in limine has been filed and/or
        granted in whole or in part. Fed. R. Evid. 401, 403.

       SUSTAINED           ________     OVERRULED_______

    42. No mention or comment that Plaintiffs or Plaintiffs’ counsel have been
        required to incur expenses to bring this suit. Such information is not
        relevant and would result in prejudice to Defendants.

       SUSTAINED           ________     OVERRULED_______

    43. No mention, comment, testimony or argument that the Jury panel or the
        juror should “do unto others as you would have them do unto you,” should
        apply the “Golden Rule,” or other similar references or comments.

       SUSTAINED           ________     OVERRULED_______

    44. No mention, comment, testimony, or argument that the Jury should
        attempt to “send a message” or any other such language which is
        calculated to have the Jury assess the damages based upon an emotional
        response and not upon the evidence and the Court’s charge. Such could
        result in prejudice to Defendants.

       SUSTAINED           ________     OVERRULED_______

    45. Any exhibit previously objected to until such time as the Court rules on
        Defendants’ objections.

       SUSTAINED           ________     OVERRULED_______




                                      12
Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 13 of 14
                                             Joint Pre-Trial Order Attachment E-2

      46. Plaintiffs, Plaintiffs’ witnesses, lay and expert, and Plaintiffs’ counsel are
          to refrain from any reference or comment, regarding evidence or
          testimony from any individual not properly designated.

         SUSTAINED           ________     OVERRULED_______


      47. Plaintiffs, Plaintiffs’ witnesses, lay and expert, and Plaintiffs’ counsel are
          to refrain from any reference, comment, evidence or testimony regarding
          exhibits not designated to be offered against Defendants in this matter.

         SUSTAINED           ________     OVERRULED_______

      48. Any request or solicitation for any agreement, stipulation, or
          understanding from Defendants, their witnesses or counsel, in the
          presence of the Jury.

         SUSTAINED           ________     OVERRULED_______

49.      Any reference or statements consisting of commentaries that may have
         been added to any videotaped depositions. Defendants move this Court to
         instruct opposing counsel not to include any commentary to any written
         or videotaped deposition, but to offer only the questions and answers of
         the witnesses.

         SUSTAINED           ________     OVERRULED_______




                                        13
           Case 4:16-cv-01670 Document 290-9 Filed on 04/17/20 in TXSD Page 14 of 14



                                                     FOLEY & LARDNER LLP

                                               By:   /s/ James G. Munisteri
                                                     James G. Munisteri
                                                     Texas Bar No. 14667380
                                                     1000 Louisiana, Suite 2000
                                                     Houston, Texas 77002-2099
                                                     Telephone: (713) 276-5500
                                                     Facsimile: (713) 276-5555
                                                     jmunisteri@foley.com

                                                     Sara Ann Brown
                                                     Texas Bar No. 24075773
                                                     2021 McKinney, Suite 1600
                                                     Dallas, Texas 75201-3340
                                                     sabrown@foley.com

                                                     Attorneys for Defendants
                                                     David W. Kent Jr. and Single
                                                     Integrated Operations Portal,
                                                     Inc. d/b/a Oilpro and
                                                     Oilpro.com
4843-1001-3626.3




                                              14
